             3:18-cv-03191-SEM-KLM # 33-3             Filed: 04/30/19    Page 1 of 1
                                                                                                   E-FILED
                                                                        Tuesday, 30 April, 2019 05:05:11 PM
                                                                              Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS

 Jane Doe,                                        )
                                                  )
                Plaintiff,                        )
                                                       Case No. 3:18-cv-03191-SEM-TSH
                                                  )
        v.                                        )
                                                  )
 Richard Macleod, et al.,                         )
                                                  )
                Defendants.                       )

                                    [PROPOSED] ORDER

       Upon consideration of Plaintiff’s Motion for Leave to File Amended Complaint, and any

Opposition thereto, it is hereby ORDERED that Plaintiff’s Motion is GRANTED. Accordingly,

Plaintiff is granted leave to file an Amended Complaint.

       IT IS SO ORDERED.

       Dated this __ day of _______________, 2019.


                                            TOM SCHANZLE-HASKINS
                                            UNITED STATES MAGISTRATE JUDGE
